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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


United States of America,                           Crim. No. 11-228 (MJD/JJK)

                  Plaintiff,

v.

(2) Gerald Joseph Durand,                 REPORT AND RECOMMENDATION
also known as Jerry Durand;

                   Defendant.


David J. MacLaughlin, Esq., and Tracy L. Perzel, Esq., Assistant United States
Attorneys, counsel for Plaintiff.

Brian N. Toder, Esq., Chestnut Cambronne, PA, counsel for Defendant.


      This matter is before this Court on Defendant Gerald Joseph Durand’s

Motion to Suppress Statements (Doc. No. 71). This Court held a hearing on the

motions on October 5, 2011,1 and received testimony from the following

witnesses: Officer Brandon Gliem, Special Agent Matt Schommer, and Special

Agent Tim Nichols. The Court also received several exhibits from the

Government, including the search and seizure warrants for Defendant Durand’s

residence and Defendant Durand’s person, and various photographs of

Defendant Durand’s residence. The matter was referred to the undersigned for

1
      On October 6, 2011, the Court issued an Order concerning various other
motions and took Defendant’s Motion to Suppress Statements, under advisement
for submission to the District Court on Report and Recommendation. (Doc.
No. 83.)
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Report and Recommendation pursuant to 28 U.S.C. § 636 and D. Minn. Loc.

R. 72.1. For the reasons stated below, this Court recommends that Defendant’s

motion be denied.

                                BACKGROUND2

      On May 6, 2011, United States Magistrate Judge Jeanne J. Graham

issued a warrant to search a specific location in Faribault, Minnesota, and a

warrant to search Defendant Gerald Joseph Durand’s person. (Hr’g Exs. 1, 2.)

Defendant’s motion concerns the statements that he gave to officers during the

execution of these search warrants.3

      On May 17, 2011, Officer Gliem assisted federal agents in executing the

search warrants at Defendant Durand’s residence in Faribault, Minnesota.

(Tr. 20–21.) Prior to approaching the residence, Officer Gliem met with federal

law enforcement officers in a park at approximately 9:00 a.m. for approximately

five to ten minutes, whereby he was told that they had a search warrant for

Mr. Durand and his residence, and was shown a picture of Mr. Durand. (Tr. 22–

2
       The following summary is based on Officer Brandon Gliem, Special Agent
Matt Schommer, and Special Agent Timothy Nichols’s testimony provided at the
October 5, 2011 hearing. Officer Gliem has worked for the City of Faribault
Police Department for ten years, and is currently a police patrol officer. (Doc.
No. 87, 10/5/11 Hearing Transcript (“Tr.”) 18–19.) Both Special Agent Matt
Schommer and Special Agent Tim Nichols work for the Internal Revenue Service
(“IRS”). (Tr. 38, 85.) Agent Schommer has worked in the Criminal Investigation
Division since 2005, and is one of the case agents assigned to this case.
(Tr. 38–39.) Agent Nichols has worked for the IRS for seventeen years. (Tr. 85.)
3
      Defendant Durand does not challenge the validity of the search warrants,
nor the constitutionality of their execution.



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23.) The agents also told Officer Gliem that Mr. Durand “had previous

experience as a professional wrestler, that he was a big guy”—six foot and

approximately 225 pounds—and that he owned a firearm but they did not know

whether he would be carrying a gun. (Tr. 24, 33, 42–43.) Agent Schommer

testified that they “had information that Mr. Durand carries a firearm on his

person when he is outside in the general public.” (Tr. 42.)

      Since Officer Gliem was in a marked patrol car and was wearing a police

uniform, he then led the agents to Mr. Durand’s residence. (Tr. 23.) Once at the

residence, Officer Gliem approached the front door along with four to five law

enforcement agents.4 (Tr. 24, 27–28.) He then “knocked on the door several

times announcing: Police, search warrant. Police, search warrant.” (Tr. 24.)

After about a minute, Mr. Durand answered the front door. (Tr. 26.) At this time,

none of the officers had their guns drawn. (Tr. 26, 50.) Officer Gliem then “took

ahold of [Defendant Durand’s] right arm, escorted him out on to the porch,

explained to him [they] were there to serve a warrant[,] and put him in handcuffs.”

(Tr. 26–27.) Officer Gliem told him to have a seat on the porch, and explained to

him that he was not under arrest and that they were just securing him while




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       Altogether, thirteen law enforcement officers were at Mr. Durand’s
residence that day; there were ten special agents and three local police officers.
(Tr. 33, 79.) The other law enforcement agents approached the back door of the
residence upon arrival. (Tr. 43.)



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agents secured the house. (Tr. 27.)5 Officer Gliem did not give Mr. Durand

Miranda warnings. (Tr. 34.)

      One agent stayed outside with Officer Gliem and Defendant Durand, while

the other agents, including Special Agent Schommer, entered the residence to

conduct a protective sweep.6 (Tr. 28, 51.) The agent accompanying Officer

Gliem told Mr. Durand to relax, that he was not under arrest, that they were there

to serve a warrant, and that they would take the handcuffs off in a moment after

the house was secured. (Tr. 28, 34.) The agent then searched Mr. Durand’s

person. (Tr. 29.) Officer Gliem does not recall Mr. Durand making any

spontaneous statements at this time, but Mr. Durand was shaking his head

acknowledging that he understood as Officer Gliem and the other agent were

talking to him. (Tr. 29–30.) Mr. Durand’s demeanor was described by Officer

Gliem as “genuinely surprised,” but that he seemed “conscious of the situation”


5
       Officer Gliem testified that this was the typical way to handle people
identified at a residence where a search warrant is being executed, especially
when they have information that the person maybe armed (or that the person has
previous wrestling experience). (Tr. 27.)
6
        Officer Gliem and Agent Schommer explained that a protective sweep is
when the officers search a residence to make sure that there is no one else
inside or potential hazards that could harm officers while executing the search
warrant. (Tr. 28, 51.) If occupants are found, they are typically moved into a
centralized area. (Tr. 52.) During the protective sweep of Mr. Durand’s
residence, Agent Nichols encountered Mrs. Durand. (Tr. 52.) He escorted her to
the living room area and sat with her during the remainder of the protective
sweep. (Tr. 86.) Mrs. Durand was not placed under arrest and was not
handcuffed. (Tr. 86.) After the protective sweep, Agent Nichols went outside to
retrieve his computer. (Tr. 86.)



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and knew what was going on. (Tr. 31.) At no time when Mr. Durand was on his

porch with Officer Gliem and the other agent did he say that he wanted to leave

or demand that he be unhandcuffed. (Tr. 30–31.)

      After approximately ten minutes, one of the other agents came outside the

residence and advised the FBI agent standing with Officer Gliem that the

residence was clear. The agent accompanying Officer Gliem then nodded

toward Officer Gliem, and Officer Gliem removed Mr. Durand’s handcuffs.

(Tr. 30.) At that time, Mr. Durand walked inside the house with the federal

agents walking in behind him; none of the agents had ahold of Mr. Durand at this

time. (Tr. 30–31.) It was then determined that Officer Gliem was no longer

needed, so he left. (Tr. 36–37.)

      The first floor of Mr. Durand’s home included an entryway, a hutch area, a

living room, a dining room, a butler’s pantry with a telephone, and a kitchen with

a back door that exits the residence. (Tr. 53–58.) After the protective sweep

was concluded, Agent Schommer saw Mr. Durand sitting at the end of the dining

room table alone; Mr. Durand was not handcuffed.7 (Tr. 58, 62.) At that time,

Agent Schommer stood to the right of the table and FBI Special Agent Eileen

Rice stood to the left of the table. (Tr. 59, 60–61.) Agent Schommer was

wearing an IRS vest and was carrying a handgun in a hip holster. (Tr. 78.)


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       At that time, Mrs. Durand was near the dining room table in the living room
area. (Tr. 58.) At some point, Mrs. Durand assisted the agents in locating a key
to a safe deposit box, and moved to the back porch area. (Tr. 61–62.)



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Agent Rice was also armed at the time, however it is unclear whether her

weapon was visible. (Tr. 78–79.)

      Agent Schommer told Mr. Durand that he was a target of the Federal

Grand Jury investigation. (Tr. 63.) And Agent Rice told Mr. Durand that he was

not under arrest, that he was free to leave, and that he did not have to speak if

he did not want to. (Tr. 62.) Agent Rice also told Mr. Durand that his wife was

not under arrest and was not a target of the investigation. (Tr. 63.) At that point,

Mr. Durand stated, “I am glad you guys are here. I wanted to talk to you. I have

done nothing wrong and I was deceived by Cook, Trevor Cook.” (Tr. 64.) Agent

Rice and Agent Schommer then briefly exited the room to decide whether they

really wanted to sit down and interview Mr. Durand. (Tr. 67.) Prior to the

execution of the search warrants, for various reasons they had planned on not

attempting to interview Mr. Durand during the search.8 (Tr. 41.) Agent Rice and

Agent Schommer ultimately decided to interview Mr. Durand and returned to the

dining room.

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       When Agent Rice and Agent Schommer were outside the presence of
Mr. Durand, Special Agent Tim Nichols would have been in the room with
Mr. Durand – there were other instances when Agent Rice or Agent Schommer
had to briefly leave the room to answer questions since they were the case
agents present. (Tr. 68–69.) Agent Nichols was assigned to inventory evidence
found during the search. (Tr. 69, 85.) He had set up the IRS’s computer and
printer for inventory purposes at the dining room table opposite where
Mr. Durand was sitting. (Tr. 69, 87–88.) During those instances when
Mr. Durand and Agent Nichols were in the room together, Mr. Durand made no
indication that he wanted to leave and made no inquiry about whether he should
call his attorney. (Tr. 88, 90–91.) The two of them only engaged in small-talk
about wrestling and whether there was a gravel pit nearby. (Tr. 88–89.)



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      Mr. Durand then asked whether he needed an attorney. (Tr. 64.) Agent

Rice advised Mr. Durand that neither she nor Agent Schommer could give advice

as to whether he needs an attorney, and that if he wanted to contact an attorney,

he was more than welcome to do that. (Tr. 64–65.) She also told him that if he

wanted to contact an attorney they would cease discussions with him. (Tr. 65.)

The agents did not provide a Miranda warning. Mr. Durand said that he would

like to know the questions that were going to be asked of him before he would

contact an attorney. (Tr. 65.) And then he pointed to some documents on the

table and stated that he had an appointment set up with his accountant that day

to prepare his 2009 tax returns, and that all of his documents were right there.

(Tr. 65–66.)

      Agent Schommer then asked Mr. Durand about a $400,000 movie deal in

which he invested in the production of a movie in the Twin Cities. (Tr. 66.)

Mr. Durand responded that $400,000 was his profit and that if he had done

anything wrong, it was with his taxes. (Tr. 67.) The interview then proceeded

whereby the agents asked Mr. Durand questions about various topics. (Tr. 71–

73.) During the interview, Mr. Durand asked a couple of more times whether he

needed an attorney.9 (Tr. 71.) The agents’ response each time was that they

could not advise him as to whether he needed to call an attorney and that if he



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      Agent Schommer testified that at these points, Mr. Durand did not state
that he wanted his attorney or that he was going to call his attorney. (Tr. 71.)



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wanted to call one, he was welcome to and that they would then be done with the

interview. (Tr. 71.)

      Agent Rice and Agent Schommer’s interview with Mr. Durand—excluding

the time when they exited the room—lasted approximately twenty minutes.

(Tr. 83.) At no point did the agents tell Mr. Durand that he was not free to leave

or that he had to answer questions. (Tr. 63–64.) Nor did Mr. Durand make any

verbal or non-verbal indication that he wished to end his conversation with them

or wished to get up and leave. (Tr. 75.) Also, at no time did Agent Rice or Agent

Schommer try to trick Mr. Durand or lie to him in an attempt to get him to say

something to them. (Tr. 73.) At some point, Mr. Durand did state that he was

going to call his attorney, which he did. (Tr. 65, 74.) The interview then ceased.

(Tr. 65, 74.) Sometime thereafter, either Mr. Durand or his wife asked to talk with

the other. (Tr. 74–75.) The agents told them that was fine, and let the two of

them talk to each other in the kitchen. (Tr. 75.) The Durands then asked if they

could leave. (Tr. 75.) The agents told them yes. (Tr. 75.) After Mrs. Durand

went upstairs and washed up, the two of them got in their vehicle and left.

(Tr. 75–76.)

      On July 19, 2011, Mr. Durand was subsequently indicted for Wire and Mail

Fraud in violation of Title 18, United States Code, Sections 2, 1341, and 1343;

Conspiracy to Commit Mail and Wire Fraud in violation of Title 18, United States

Code, Section 371; and Money Laundering in violation of Title 18, United States




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Code, Sections 1957 and 2. Three days later, Mr. Durand self-reported to the

U.S. Marshals.

                                  DISCUSSION

      Defendant asserts that the “singular issue before the Court is whether or

not [D]efendant was subject to a custodial interrogation that requires a Miranda

warning when his home was invaded by law enforcement officers on May 17,

2011.” (Doc. No. 113, Post Hr’g Brief in Supp. of Def.’s Mot. to Suppress

Statements 1.) Defendant contends that he was, and therefore any statements

he made in his residence on May 17, 2011, should be suppressed because the

statements were not made after a valid waiver of Defendant’s rights pursuant to

Miranda. The Government opposes the motion and asserts that Defendant’s

statements were non-custodial.

      “[P]olice officers are not required to administer Miranda warnings to

everyone . . . they question.” See Oregon v. Mathiason, 429 U.S. 492, 495

(1977). Rather, Miranda warnings are required for official interrogations where a

person has been “‘taken into custody or otherwise deprived of his freedom of

action in any significant way.’” Stansbury v. California, 511 U.S. 318, 322 (1994)

(quoting Miranda v. Arizona, 384 U.S. 436, 444 (1966)); Berkemer v. McCarty,

468 U.S. 420, 428 (1984) (same); United States v. Helmel, 769 F.2d 1306, 1320

(8th Cir. 1985) (same). In addition, the requirements of Miranda arise only when

a defendant is both in custody and being interrogated. United States. v. Head,

407 F.3d 925, 928 (8th Cir. 2005). Once a suspect is in police custody and


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subject to interrogation, the suspect must be informed of his constitutional right to

remain silent and to be represented by legal counsel during questioning. See

Miranda, 384 U.S. at 467–68, 471–72.

      “In determining whether an individual was in custody, a court must

examine all of the circumstances surrounding the interrogation, but ‘the ultimate

inquiry is simply whether there [was] a formal arrest or restraint on freedom of

movement of the degree associated with a formal arrest.” Stansbury, 511 U.S. at

322 (quoting California v. Beheler, 463 U.S. 1121, 1125 (1983)) (further

quotations omitted). A list of common indicia of custody that has been identified

by our Court of Appeals includes the following:

      (1) whether the suspect was informed at the time of questioning that
      the questioning was voluntary, that the suspect was free to leave or
      request the officers to do so, or that the suspect was not considered
      under arrest; (2) whether the suspect possessed unrestrained
      freedom of movement during questioning; (3) whether the suspect
      initiated contact with authorities or voluntarily acquiesced to official
      requests to respond to questions; (4) whether strong arm tactics or
      deceptive stratagems were employed during questioning;
      (5) whether the atmosphere of the questioning was police
      dominated; or (6) whether the suspect was placed under arrest at
      the termination of the questioning.

United States v. Griffin, 922 F.2d 1343, 1349 (8th Cir. 1990); see also United

States v. Czichray, 378 F.3d 822, 827 (8th Cir. 2004), cert. denied, 544 U.S.

1060 (2005). These factors “are by no means exhaustive and should not be

applied ritualistically, counting indicia which contribute to custody against those

which detract.” United States v. Brave Heart, 397 F.3d 1035, 1039 (8th Cir.

2005). Instead, the Griffin factors serve as a guide in the resolution of the


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ultimate inquiry of “whether the defendant was restrained as though he were

under formal arrest.” Czichray, 378 F.3d at 828.

      Further, whether or not Miranda is implicated, the Supreme Court has

recognized that, in order for a confession (or incriminating statement), to be

admitted into evidence, it must be voluntary if it is to satisfy the Fifth

Amendment’s protection against self-incrimination. See Dickerson v. United

States, 530 U.S. 428, 433–34 (2000) (stating that the Supreme Court applies the

due-process-voluntariness test). For a confession to be considered voluntary, a

Court must examine “‘whether a defendant’s will was overborne’ by the

circumstances surrounding the giving of a confession.” Id. at 434. A statement

is involuntary if it “was extracted by threats, violence, or . . . promises, such that

the defendant’s will was overborne and his capacity for self-determination

critically impaired.” United States v. Gallardo-Marquez, 253 F.3d 1121, 1123 (8th

Cir. 2001) (quotations omitted).

      Whether a defendant’s will has been overborne is determined by an

examination of the totality of the circumstances, including both the conduct of law

enforcement in exerting pressure to confess on the defendant and the

defendant’s ability to resist that pressure. Brave Heart, 397 F.3d at 1040. Some

factors this Court may consider in evaluating the totality of the circumstances

include: the youth of the accused; the level of education of the accused; the lack

of advice to the accused of his constitutional rights; the length of the detention;

the repeated and prolonged nature of the questioning; and the use of physical


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punishment. Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973); see also

Brave Heart, 397 F.3d at 1041 (“[O]fficers elicit confessions through a variety of

tactics, including claiming not to believe a suspect’s explanations, making false

promises, playing on a suspect’s emotions, using his respect for his family

against him, deceiving the suspect, conveying sympathy, and even using raised

voices . . . . None of these tactics render a confession involuntary, however,

unless the overall impact of the interrogation caused the defendant’s will to be

overborne.”) (quotations and citation omitted). The government bears the burden

of proving voluntariness by a preponderance of the evidence. Brave Heart, 397

F.3d at 1040.

      Here, Defendant has moved to suppress the statements that he made on

May 17, 2011. Defendant argues that looking at the totality of the circumstances,

he was in custody because thirteen armed agents invaded his home, he was told

that he was not under arrest while he was handcuffed, and he was thereafter

seated at a table with an officer on each side of him, all of which created a police-

dominated environment. Defendant also asserts that his movement was

restrained while he was handcuffed, and that it was further restrained while he

was seated at his dining room table, which is reflected in the officer testimony

stating that they “let” Mr. Durand and Mrs. Durand talk to each other. In addition,

Defendant argues that strong-arm tactics and deceptive stratagems were

employed during questioning because the beginning of the interview started with

Agent Schommer advising Defendant that he was the target of a grand-jury


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investigation, and because the agents construed Defendant’s inquiry as to

whether he should confer with a lawyer as a request for legal advice, ignoring the

more direct issue as to whether Defendant wanted his attorney or wanted to call

his attorney.

      The Government does not dispute that Defendant was not provided with a

Miranda warning prior to his unsolicited statements being made or prior to the

interview. The pertinent inquiry is, therefore, whether Defendant was in custody,

and, if not, whether his statements were otherwise involuntary. This Court finds

that the totality of circumstances compels the conclusion that Defendant was not

the subject of custodial interrogation on May 17, 2011, that Miranda warnings

were not required, and that Defendant’s statements were voluntary.

      According to the uncontroverted testimony, Defendant was temporarily

placed in handcuffs while the agents completed a protective sweep of the home,

he was released from the handcuffs once the protective sweep was finished, the

agents had a right to be in the home based on the search warrant, no agent gave

Defendant a Miranda warning, Defendant offered some comments prior to any

questioning by any agent, and Defendant answered some of the agents’

questions. Further, when Defendant Durand was on his porch after being

handcuffed, Officer Gliem and the agent accompanying him separately assured

Defendant Durand that he was not under arrest, that they were there to serve a

warrant, and that they would take the handcuffs off after the house was secured.

Defendant Durand then left the porch, entered his home, and sat at his dining


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room table. Once seated at the table, Agent Rice told Defendant that neither he

nor his wife was under arrest, that he was free to leave, and that he did not have

to speak if he did not want to. Agent Schommer’s testimony indicates that after

providing Defendant these statements, Defendant was willing to speak with the

agents because he offered certain statements indicating that he was glad they

were there and that he wanted to talk with them without even having been

questioned.10 In addition, after being told by the agents that they could not give

advice as to whether he needs an attorney, that if he wanted to contact an

attorney he was more than welcome to, and that if he wanted to contact an

attorney their discussions with him would stop, Defendant Durand continued to

answer the agents’ questions without asking for his attorney. There is no

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       This Court notes that even if Defendant were found to be in custody at this
point in time, these particular statements made by Defendant were not the result
of an interrogation. Agent Rice and Agent Schommer were not asking Defendant
to make statements, but were only informing him of the reason they were there.
Interrogation includes both direct questioning by officers and words or actions
that officers should know are “‘reasonably likely to elicit an incriminating
response from the suspect.’” United States v. Broines, 390 F.3d 610, 612 (8th
Cir. 2004) (quoting Rhode Island v. Innis, 446 U.S. 291, 301 (1980)). Voluntary
statements that are not in response to interrogation are admissible with or
without the giving of Miranda warnings. Head, 407 F.3d at 928. An officer telling
a suspect what is happening or what charges have been made against him is not
“interrogation” for Miranda purposes. See United States v. Wipf, 397 F.3d 677,
685 (8th Cir. 2005) (“[A]n inculpatory statement is not considered the product of
custodial interrogation merely because it is made after the suspect has been told
the charges against him.”). Further, “[p]olite conversation is not the functional
equivalent of interrogation” for Miranda purposes. See United States v. Tail, 459
F.3d 854, 858 (8th Cir. 2006). Therefore, the statements that Defendant Durand
made to Agent Nichols when Agents Rice and Schommer were out of the room
were not a product of interrogation either.



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evidence that the agents told Defendant anything that was not true or used

trickery in order to get him to answer questions. The uncontroverted testimony

indicates that once Defendant stated that he wanted to call his attorney, he was

allowed to do so, and all questioning stopped. Further, Defendant and his wife

were free to leave, which they did.

      Strong evidence of restraint of freedom of movement is required to

overcome the natural inference that questioning is non-custodial when the

defendant is questioned in the familiar surroundings of his own home, is advised

that he is free to leave, and is not arrested at the conclusion of the interview or

the search. See Czichray, 378 F.3d at 830; United States v. LeBrun, 363 F.3d

715, 722 (8th Cir. 2004). Here, although the agents initiated the contact,

Defendant volunteered statements prior to any questioning by the agents, and he

answered the agents’ questions after being told that he could call his attorney if

he wanted to. There is nothing in the record to suggest that the agents

restrained Defendant’s freedom of movement in any way, and there is no

evidence that the agents employed any deceptive stratagems, strong-arm tactics,

or even raised their voices, at any time during the interview. The information that

the agents provided about how he could call an attorney if he wanted to, and that

they could not advise him on whether he needed an attorney or not, was

accurate information. And while the agents did inform Defendant that he was

part of a grand-jury investigation, and therefore perhaps implied that they had

information about him, this type of coercion does not render the interview


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custodial. See LeBrun, 363 F.3d at 721 (“[S]ome degree of coercion is part and

parcel of the interrogation process and . . . the coercive aspects of a police

interview are largely irrelevant to the custody determination except where a

reasonable person would perceive the coercion as restricting his or her freedom

to depart.”).

      The interview took place in the comfort of Defendant’s home by two law

enforcement agents, rather than inside a law enforcement building, which tends

to show that the atmosphere of the interview was not police-dominated. See

Beckwith v. United States, 425 U.S. 341, 342–43, 347–48 (1976) (affirming no

custody when defendant was interviewed by two IRS agents at the dining room

table of a private home where he occasionally stayed). Although an interview

with law enforcement about one’s possible fraudulent activity during the

execution of a search warrant in one’s own home is unlikely to be a relaxed

conversation, it is undisputed that the officers repeatedly told Defendant that he

could call his attorney if he wanted to. Only two agents participated in the

interview—although others were executing the search warrant—and the interview

was conducted in approximately twenty minutes, which is not unduly long. See

Jenner v. Smith, 982 F.2d 329, 334 (8th Cir. 1993) (stating that a seven-hour

interview was not per se unconstitutional). Also, Defendant was not arrested at

the end of the interview. See LeBrun, 363 F.3d at 722 (stating that the lack of

arrest is a “very important factor weighing against custody” (quoting United

States v. Galceran, 301 F.3d 927, 931 (8th Cir. 2002)). In addition, the record


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reflects that the agents informed Defendant that he was free to leave, that he did

not have to speak if he did not want to, and that the interview would be stopped if

he wanted to contact his attorney. See Czichray, 378 F.3d at 830 (“Where a

suspect is questioned in the familiar surroundings of his home, and informed

several times of his right to terminate the interview at will, we believe that strong

evidence of restraint on freedom of movement of the degree associated with a

formal arrest is necessary to overcome the natural inference that such

questioning is non-custodial.”). Defendant has provided no rebuttal evidence

showing that he was intimidated to participate in the agents’ questioning by any

acts or statements of the agents. And up until the point when Defendant asked

to call his attorney, the record does not reflect that Defendant asked the officers

to stop their questioning, to leave him alone prior to the end of the interview, or to

stop asking any particular line of questions.

      Furthermore, the Court finds no grounds to conclude that the existence of

certain circumstances inherent to the execution of a search warrant (i.e., initially

handcuffing Mr. Durand during the protective sweep when they had information

that Mr. Durand may be carrying a weapon and moving Defendant’s wife into the

living room to ensure a secure scene and officer safety), can properly be equated

to indicia of custody. Cf. United States v. Walker, 555 F.3d 716, 721 (8th Cir.

2009) (“Protective searches allow for the use of handcuffs.”) Although the

sudden appearance of numerous agents wearing FBI or IRS jackets at one’s

home is obviously intimidating, this circumstance is typical of a search-warrant


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execution. Essentially this circumstance relates to nuances of whether there

was a police-dominated atmosphere, use of deception and strong-arm tactics,

and voluntary acquiescence to an interview. Here, the sudden arrival of FBI and

IRS agents simply does not outweigh the objective, undisputed facts that indicate

the absence of a custodial situation. See Czichray, 378 F.3d at 828. Placing

Mr. Durand in handcuffs and having his wife sit in the living room during the initial

security sweep is not indicative of Defendant’s custody, but rather is simply the

cautious—and reasonable—conduct that would be expected in the execution of a

lawful search warrant in a private residence. Therefore, after considering the

Griffin factors, this Court concludes that Defendant was not in custody during the

interview with the agents on May 17, 2011, and suppression of Defendant’s

statements based on the failure to advise him of his Miranda rights is not

required.

      Even in the absence of a custodial interrogation, the Court must also

determine, consistent with the requisites of the Fifth Amendment, whether the

statements given by Defendant were voluntary, or whether they were the product

of an overborne will. Based on the record presented, this Court finds no

evidence to reflect that Defendant’s statements were involuntary, or that there

were any specific instances of coercion. Indeed, the record reflects that the

interview was the product of Defendant’s own decision to cooperate with law

enforcement. The length of the interview was not unduly burdensome, the

Defendant was within the comfort of his own home, and he was not tricked into


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lending cooperation to an investigation that he was otherwise resisting.

Moreover, Defendant does not assert the existence of any physical or mental

impairments that would impact the voluntariness analysis. Accordingly, viewing

the totality of the circumstances, this Court finds that Defendant’s will was not

overborne and the statements that he made during the May 17, 2011 interview

were voluntary. Therefore, Defendant’s motion to suppress the May 17, 2011

statements should be denied.

                               RECOMMENDATION

      IT IS HEREBY RECOMMENDED that:

      1.     Defendant Gerald Joseph Durand’s Motion to Suppress Statements

(Doc. No. 71), be DENIED.


Date: October 24, 2011
                                               s/Jeffrey J. Keyes
                                              JEFFREY J. KEYES
                                              United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by
November 7, 2011, a writing which specifically identifies those portions of this
Report to which objections are made and the basis of those objections. Failure
to comply with this procedure may operate as a forfeiture of the objecting party’s
right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within fourteen days after service thereof. All briefs filed
under this rule shall be limited to 3500 words. A judge shall make a de novo
determination of those portions of the Report to which objection is made. This
Report and Recommendation does not constitute an order or judgment of the
District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.




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